   Case 2:22-cv-00176-GMN-DJA Document 1-3 Filed 01/31/22 Page 1 of 9

                                                                                                   Service of Process
                                                                                                   Transmittal
                                                                                                   11/16/2021
                                                                                                   CT Log Number 540598052
TO:         Donna Shavers
            Albertson's LLC
            PO BOX 160066, 321 MONTGOMERY RD
            ALTAMONTE SPRINGS, FL 32716-0066

RE:         Process Served in Nevada

FOR:        Albertson's LLC (Domestic State: DE)




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                                 Re: ROSE BOCCHIERI // To: Albertson's LLC
DOCUMENT(S) SERVED:                              --
COURT/AGENCY:                                    None Specified
                                                 Case # A21843259C
NATURE OF ACTION:                                Personal Injury - Failure to Maintain Premises in a Safe Condition
ON WHOM PROCESS WAS SERVED:                      C T Corporation System, Carson City, NV
DATE AND HOUR OF SERVICE:                        By Process Server on 11/16/2021 at 12:24
JURISDICTION SERVED :                            Nevada
APPEARANCE OR ANSWER DUE:                        None Specified
ATTORNEY(S) / SENDER(S):                         None Specified
ACTION ITEMS:                                    CT has retained the current log, Retain Date: 11/17/2021, Expected Purge Date:
                                                 11/22/2021

                                                 Image SOP

                                                 Email Notification, Michael McCue Michael.McCue@safeway.com

                                                 Email Notification, Donna Shavers donna.shavers@albertsons.com

                                                 Email Notification, Risk Management Group RM.Claim.Support@Safeway.com

                                                 Email Notification, Carmen Rowland Carmen.Rowland@safeway.com

REGISTERED AGENT ADDRESS:                        C T Corporation System
                                                 701 S. Carson Street
                                                 Suite 200
                                                 Carson City, NV 89701
                                                 866-203-1500
                                                 DealTeam@wolterskluwer.com
The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other




                                                                                                   Page 1 of 2 / PK
   Case 2:22-cv-00176-GMN-DJA Document 1-3 Filed 01/31/22 Page 2 of 9

                                                                                                    Service of Process
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advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
therein.




                                                                                                    Page 2 of 2 / PK
     Case 2:22-cv-00176-GMN-DJAElectronically
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                                     10/27/2021 12:03 PM




      SEI
       MARCUS A. BERG,ESQ.
 2
      Nevada Bar No. 9760
 3
      marcus@mossberglv.com
      JOHN C. FUNK,ESQ.
 4    Nevada Bar No. 9255
      john@mossbergIv.com
 5    MOSS BERG INJURY LAWYERS
      4101 Meadows Lane, Suite 110
 6
      Las Vegas, Nevada 89107
 7    Telephone:(702)222-4555
      Facsimile:(702)222-4556
 8    Attorneysfor Plaintiff
                                           DISTRICT COURT
 9

10                                   CLARK COUNTY,NEVADA

11     ROSE BOCCHIERI,                                  CASE NO. A-21-843259-C
                                                        DEPT. NO.
12
                    Plaintiff,
13
       V.
14                                                                    SUMMONS
      ALBERTSON'S,LLC, a Foreign Limited-
15    Liability Company; ALBERTSON'S DOE
      MANAGER ("Nicholas"); DOE
16
      EMPLOYEE;DOES II through X; and ROE
17    CORPORATIONS I through X,inclusive,

18                  Defendants.
19

20     NOTICE! YOU HAVE BEEN SUED. THE COURT MAY DECIDE AGAINST YOU
       WITHOUT YOUR BEING HEARD UNLESS YOU RESPOND WITHIN TWENTY ONE
21    (21)DAYS. READ THE INFORMATION BELOW:
22
                                          ALBERTSON'S,LLC
23
      TO THE DEFENDANT(S): A civil Complaint has been filed by the Plaintiff(s) against you
24    for the relief set forth in the Complaint.

25     1.    If you intend to defend this lawsuit, within twenty one (21) days after this Summons is
             served on you, exclusive of the day of service, you must do the following:
26

27          (a)     File with the Clerk of this Court, whose address is shown below, a formal written
                    response to the Complaint in accordance with the rules of the Court, with the
28                  appropriate filing fee.




                                   Case Number: A-21-843259-C
     Case 2:22-cv-00176-GMN-DJA Document 1-3 Filed 01/31/22 Page 4 of 9




             (b)    Serve a copy of your response upon the attorney whose name and address is
                    shown below.
 2

 3
       2.    Unless you respond, your default will be entered upon application of the Plaintiff(s) and
             failure to so respond will result in a judgment of default against you for the relief
 4           demanded in the Complaint, which could result in the taking of money or property or
             other relief requested in the Complaint.
 5

       3.    If you intend to seek the advice of an attorney in this matter, you should do so promptly
 6
             so that your response may be filed on time.
 7
       4.    The State of Nevada, its political subdivisions, agencies, officers, employees, board
 8           members, commission members and legislators each have forty-five (45) days after
             service of this Summons within which to file an Answer or other responsive pleading to
 9
             the Complaint.
10
       DATED this 26-44 day of October, 2021.
11                                                    STEVEN D. EMERSON
       Respectfully Submitted By:                     CLERK OF COURT
12

13
       MOSS BERG INJURY LAWYERS

14                                                    By:
                                                             Deputy Clerk                  Date
15 "   MARCUS K. BERG,ESQ.
       Nevada Bar No.9760                                      Demond Palmer
16
       marcus@mossberglv.com
17     JOHN C. FUNK,ESQ.
       Nevada Bar No. 9255
18     john@mossbergIv.com
       MOSS BERG INJURY LAWYERS
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       4101 Meadows Lane
20     Las Vegas, Nevada 89107
       Telephone:(702)222-4555
21     Facsimile:(702)222-4556
       Attorneysfor Plaintiff
22

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     Case 2:22-cv-00176-GMN-DJA Document 1-3 Filed 01/31/22 Page 5 of 9
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                                                                               CLER OF THE COU


 1    COMP
      MARCUS A. BERG,ESQ.
 2
      Nevada Bar No. 9760
 3    marcus@mossbergIv.com                                             CASE NO: A-21-84325 -C
      JOHN C. FUNK,ESQ.                                                      I   Department 17
4     Nevada Bar No. 9255
      john@mossberglv.com
 5    MOSS BERG INJURY LAWYERS
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      Facsimile:(702)222-4556
8     Attorneysfor Plaintiff
9
                                            DISTRICT COURT
10
                                      CLARK COUNTY,NEVADA
11
      ROSE BOCCHIERI,                                    CASE NO.
12
                                                         DEPT. NO.
13                   Plaintiff,

14    v.

15    ALBERTSON'S,LLC,a Foreign Limited-                               COMPLAINT
      Liability Company; ALBERTSON'S DOE
16
      MANAGER ("Nicholas"); DOE
17    EMPLOYEE;DOES II through N; and ROE
      CORPORATIONS I through X,inclusive,
18
                     Defendants.
19

20
             Plaintiff, ROSE BOCCHIERI, by and through her attorneys, MARCUS A. BERG,
21
      ESQ., and JOHN C. FUNK, ESQ., of the law firm of MOSS BERG INJURY LAWYERS, and
22

23
      for her causes of action against Defendant, hereby alleges as follows:

24           1.      That at all times relevant to these proceedings, Plaintiff, ROSE BOCCHIERI

25    was and is a resident of Clark County, Nevada.
26
             2.      Plaintiff is informed, believes, and thereon alleges that at all times relevant to
27
      these proceedings, Defendant, ALBERTSON'S, LLC, (hereinafter referred to as Defendant,
28




                                    Case Number: A-21-843259-C
Case 2:22-cv-00176-GMN-DJA Document 1-3 Filed 01/31/22 Page 6 of 9




 1   "ALBERTSON'S"), was and is a Foreign Limited-Liability Company, Organized and existing
                      -
2
     pursuant to the laws of the State of Nevada, and authorized to do and doing business in Clark
 3
     County, Nevada as Albertson's #6018, located at 7151 West Craig Road, Las Vegas, Nevada
4
     89129(hereinafter referred to as "Subject Premises").
 5
            3.      Plaintiff is informed, believes, and thereon alleges that qt all times relevant to
6

 7   these proceedings, Defendant, ALBERTSON'S DOE MANAGER ("Nicholas") (hereinafter

 8   referred to as Defendant,"NICHOLAS"), was and is a resident of Clark County, Nevada.
9
            4.      That the true names and capacities, whether individual, corporate, associate or
10
     otherwise of Defendants named herein as DOES I through X are unknown to Plaintiff who,
11
     therefore, sues said Defendants by said fictitious names. Plaintiff is informed, believes, and
12

13
     thereon alleges that each of the Defendants designated as DOES are responsible in some manner

14   for the events and happenings referred to herein, specifically for creating and/or allowing a

15   hazardous condition to exist on Defendant's premises, which caused damages proximately to
16
     Plaintiff as herein alleged. Plaintiff will ask leave of this Court to amend her Complaint to insert
17
     the true names and capacities of DOES I through X when the same have been fully ascertained
18
     and to join such Defendants in this action. At all times mentioned herein, each Defendant was
19

20   acting as the agent, servant, and/or employee of each other Defendant.      I

21          5.      That the true names and capacities, whether individual, corporate, associate or
22   otherwise of Defendants named herein as ROE CORPORATIONS I through X are unknown to
23
     Plaintiff who, therefore, sues said Defendants by said fictitious names. Plaintiff is informed,
24
     believes, and thereon alleges that each of the Defendants designated as ROE CORPORATIONS
25
     are responsible in some manner for the events and happenings referred to herein, specifically for
26

27   creating and/or allowing a hazardous condition to exist on the Subject Premises, which caused

28   damages proximately to Plaintiff as herein alleged. Plaintiff will ask leave of this Court to


                                                       2
     Case 2:22-cv-00176-GMN-DJA Document 1-3 Filed 01/31/22 Page 7 of 9




 1    amend her Complaint to insert the true names and capacities of ROE              CORPORATIONS
 2
       through X when the same have been fully ascertained and to join such Defe'ridants in this action.
 3
       At all times mentioned herein, each Defendant was acting as the agient, servant, and/or
 4
      employee ofeach other Defendant.
 5
              6.      That on or about November 5, 2020, Plaintiff was a gulest on the "Subject
 6

 7    Premises," commonly known as, ALBERTSON'S.

 8            7.      At that same time and place, Defendants so carelessly and negligently created,
 9
      owned, controlled, inspected, and/or maintained the Subject Premises in an unstable and
10
      dangerous manner so as to allow a hazardous -condition, to exist on Defendants' premises,
11
      specifically, a broken glass jar of queso dip, where. Defendants' were aware numerous
12

13    customers would be constantly walking, which, without proper warning of               'hazard, caused

14    Plaintiff to slip and fall, and as a proximate result thereof, Plaintiff was seriously injured.

15            8.      That as a direct and proximate result of the Defendants' and/or their
16
      employee/agent's negligent acts and/or omissions and/or breach of duty, Defendants' forced
17
      Plaintiff to encounter a dangerous condition by creating and/or leaving a broken jar of slippery
18
      queso on the floor of Defendants' premises in a designated walkway, thereby causing Plaintiff
19

20    to slip and fall.

21            9.      Defendants' and each of them, carelessly and negligently failed to warn of a
22    hazard with respect to the Subject Premises, thereby forcing Plaintiff to encounter a dangerous
23
      condition on the Subject Premises, esulfing in Plaintiff sustaining serious injuries and damages.
24
              10.     That as a further direct and proximate result of the negligence, carelessness, and
25
      recklessness of Defendants, Plaintiff sustained severe and debilitating injuiies to her hand, arm
26

27    and back, among others, all or some of which conditions may be permanent or disabling in

28    nature, causing general damages in an amount to be determined at trial.


                                                         3
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 1           11.     This Court has subject matter jurisdiction over this m4tter pursuant to NRS
 2
     4.370(1), as the matter in controversy exceeds Fifteen Thousand Dollars (s15,000.00) exclusive
 3
     of attorney's fees, interest, and costs.
 4
             12.     That as a further direct and proximate result of the negligence, carelessness, and
 5
     recklessness of Defendants, Plaintiff was required, and will be required in the future, to incur
 6

 7   expenses for medical care and treatment and costs incidental theret9 in an amount to be

 8   determined.
 9
             13.     That as a further direct and proximate result of the negligence, carelessness, and
10
     recklessness of Defendants, Plaintiff has incurred substantial out-of-pocket expenses, including,
11
     but not limited to, money spent for prescriptions, medication, and uncovered medical expenses.
12

13           14.     That as a further direct and proximate result of the negligpnce, carelessness, and

14   recklessness of Defendants, Plaintiff has endured physical and emotional pain and suffering. It

15   is further expected that Plaintiff will be forced to endure future physical and emotional pain
16
     associated with her continued medical treatment, recuperation, physical therapy and limitations
17
     associated with her injuries into the foreseeable future.
18
             1 5.    That as a further direct and proximate result of the negligence, carelessness, and
19

20   recklessness of Defendants, Plaintiff has suffered and continues t4 suffer a significant

21   deterioration in her enjoyment of life and lifestyle.
22           16.     That Plaintiff has had to retain the services of an attorney to prosecute this action
23
     and is, therefore, entitled to reasonable attorney's fees and costs of suit incurred herein.
24
             WHEREFORE, Plaintiff; expressly reserving the right to amend her Complaint at the
25
     time of trial of the actions herein to include all items of damages not yet ascertained, demands
26

27   judgment against Defendants, and each of them, as follows:

28           1.      General damages in an amount in excess of $15,000.00;


                                                       4
Case 2:22-cv-00176-GMN-DJA Document 1-3 Filed 01/31/22 Page 9 of 9




 1       2.    Damages for costs of medical care and treatment and costs incidental thereto,
2
               when the same have been fully ascertained;
3
         3.    Reasonable attorney's fees and costs of suit incurred herein;
4
         4.    For a sum to be determined by the trier offact for loss ofenjoyment of life pursuant
5
               to Banks v. Sunrise Hosp., 120 Nev. 822, 836(2004); and ,
6

7        5.    For such other and further relief as the Court may deem proper in the premises.

8        DATED this ZZ''Clay of October, 2021.
9
                                      MOSS BERG INJURY LAWYERS
10

11                            By:
                                     MARCUS A. BERG,ESQ.
12                                   Nevada Bar No. 9760
13
                                     marcus@mossberg1v.com
                                     JOHN C. FUNK,ESQ.
14                                   Nevada Bar No. 9255
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17                                   Facsimile:(702)222-4556
                                     Attorneysfor Plaintiff
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